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 6 Attorney for Plaintiff
 7 CELESTINO DAVID CARLOS
 8
                             UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
11
12 CELESTINO DAVID CARLOS,                   Case No. 2:21-cv-05191-SP
13
           Plaintiff,                        ORDER OF DISMISSAL
14
15                v.

16 KILOLO KIJAKAZI, Acting
17 Commissioner of Social Security,
18              Defendant.
19
20         Based upon the parties’ Stipulation for Dismissal, IT IS ORDERED that this

21 case is dismissed with prejudice, with each party to bear its own costs and attorney fees.
22
23 DATE: October 13, 2021                  ____________________________________
24                                         HON. SHERI PYM
                                           UNITED STATES MAGISTRATE JUDGE
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